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                          CHERNE CONTRACTING CORPORATION
                   6

                   7

                   8                                  UNITED STATES DISTRICT COURT

                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                 10

                 11       BEATRICE PARKER on behalf of herself, and       Case No.
                          all others similarly situated,
                 12                                                       Removed from the California Superior
                                       Plaintiff,                         Court, County of Alameda
                 13                                                       Case No. RG18892816
                                v.
                 14                                                       Date of Filing of Action in the Superior
                          CHERNE CONTRACTING CORPORATION,                 Court: February 13, 2018
                 15       and DOES 1 through 10, inclusive,
                                                                          DEFENDANT CHERNE
                 16                    Defendants.                        CONTRACTING CORPORATION'S
                                                                          NOTICE OF REMOVAL OF ACTION
                 17                                                       FROM STATE COURT
                 18                                                       [28 U.S.C. §§ 1332, 1441, 1446 and Fed.
                                                                          R. Civ. P. 81(c)]
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Baker & McKenzie LLP
Two Embarcadero Center
       11th Floor
San Francisco, CA 94111
                                                                                                      Case No._______________
   + 1 415 576 3000                                                         NOTICE OF REMOVAL OF ACTION FROM STATE COURT
                   1      TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PLAINTIFF AND HER

                   2      COUNSEL OF RECORD:

                   3             PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, 1446, 1453 and Fed. R.

                   4      Civ. P. 81(c), Defendant Cherne Contracting Corporation ("Cherne" or "Defendant"), hereby

                   5      removes to the United States District Court for the Northern District of California the above-

                   6      captioned state court action, originally filed as Case No. RG18892816 in the Superior Court of the

                   7      State of California for the County of Alameda. As set forth below, removal is proper based on

                   8      diversity of citizenship jurisdiction and the Class Action Fairness Act of 2005 ("CAFA").

                   9                                               I. BACKGROUND

                 10              1.      On February 13, 2018, Plaintiff Beatrice Parker filed a class action complaint

                 11       ("Complaint") against Cherne in the Superior Court of California, County of Alameda, Case No.

                 12       RG18892816. Plaintiff filed a First Amended Complaint ("FAC") on February 23, 2016. A true and

                 13       correct copy of the operative Complaint and Summons in this action, as served upon Cherne, is

                 14       attached hereto as Exhibit A.

                 15              2.      The FAC alleges causes of action for: (1) Unfair Business Practices; (2) Violations of

                 16       the Labor Code; (3) Penalties; and (4) Attorneys’ Fees.

                 17              3.      The only named defendant in the FAC is Cherne.

                 18              4.      Cherne was served with a Summons and the Complaint on February 26, 2018.

                 19                                       II.   TIMELINESS OF REMOVAL

                 20              5.      Because Plaintiff served the FAC on Cherne on February 26, 2018, this Notice of

                 21       Removal is timely, as it is filed within thirty days of the date the FAC was served. See 28 U.S.C. §

                 22       1446(b); Murphy Bros., Inc. v. Michetti Pip Stringing, Inc., 526 U.S. 344, 354 (1999) (holding that

                 23       the thirty-day deadline to remove commences upon service of the summons and complaint).

                 24                                         III. DIVERSITY JURISDICTION
                 25              6.      Because this action is between citizens of different states and the amount in

                 26       controversy exceeds the sum or value of $75,000, exclusive of interest and costs, this Court has

                 27       original jurisdiction over this action pursuant to 28 U.S.C. § 1332(a). Accordingly, this action is

                 28       removable to this Court pursuant to 28 U.S.C. § 1441(a).
Baker & McKenzie LLP                                                       1
Two Embarcadero Center
       11th Floor
                                                                                                              Case No._______________
San Francisco, CA 94111                                                             NOTICE OF REMOVAL OF ACTION FROM STATE COURT
   + 1 415 576 3000
 1                                              Plaintiff's Citizenship

 2          7.        Upon information and belief, Plaintiff is, and at the institution of this civil action was,

 3   a citizen of the State of California.

 4                                             Defendant's Citizenship

 5          8.        Pursuant to 28 U.S.C. § 1332(c)(1), "a corporation shall be deemed to be a citizen of

 6   every State . . . by which it has been incorporated and of the State . . . where it has its principle place

 7   of business."

 8          9.        The appropriate test to determine a corporation’s principal place of business is the

 9   "nerve center" test. Hertz Corp. v. Friend, 559 U.S. 77, 92–93 (2010). Under the "nerve center"

10   test, a corporation’s principal place of business is the single place within a particular state where the

11   corporation’s officers direct, control, and coordinate the corporation’s activities, which is typically

12   the place at which the corporation maintains its headquarters. See id. The Supreme Court has used

13   "[t]he metaphor of [the] corporate ‘brain’" to describe a corporation’s principal place of business.

14   See id. at 95.

15          10.       Cherne is incorporated under the laws of the State of Delaware.

16          11.       Cherne maintains its headquarters in Eden Prairie, Minnesota. The corporate support

17   activities for Cherne occur at its headquarters in Eden Prairie, Minnesota. In short, Cherne's "nerve

18   center" or "corporate brain" is located at its headquarters in Eden Prairie, Minnesota.

19                                           Doe Defendants' Citizenship

20          12.       Pursuant to 28 U.S.C. § 1441(b), the residence of fictitious and unknown defendants

21   should be disregarded for purposes of establishing removal jurisdiction under 28 U.S.C. § 1332. See

22   Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (holding unnamed defendants

23   are not required to join in a removal petition). Thus, the possible existence of unnamed Doe

24   Defendants, 1 through 10, inclusive, does not deprive this Court of jurisdiction.

25                                             Amount in Controversy

26          13.       Although Cherne denies any liability as to Plaintiff's claims, the amount in

27   controversy "more likely than not" exceeds $75,000. See Sanchez v. Monumental Life Ins. Co., 95

28   F.3d 856, 862 (9th Cir. 1996). Here, the damages requested by Plaintiff "more likely than not"
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                                                                                            Case No._______________
                                                                  NOTICE OF REMOVAL OF ACTION FROM STATE COURT
 1   exceed $75,000, exclusive of interests and costs, as required by 28 U.S.C. § 1332(a), based on the

 2   allegations, claims and prayer for relief set forth in the FAC.

 3          14.     Where a complaint "fails to allege a sufficiently specific total amount in

 4   controversy . . . [courts] apply the preponderance of the evidence burden of proof to the removing

 5   defendant." Guglielmino v. McKee Foods Corp., 506 F.3d 701 (9th Cir. 2007). Here, Plaintiff has

 6   not specified the amount that she alleges is in controversy nor has she expressly limited her recovery

 7   in this case. As such, the preponderance of the evidence standard applies in determining whether the

 8   jurisdictional threshold is likely to be met. Id. at 700 (applying the preponderance of the evidence

 9   standard where plaintiff’s complaint alleged that "damages to each Plaintiff are less than $75,000").

10          15.     Plaintiff seeks to recover compensatory damages for unpaid wages, overtime wages,

11   monies and property unlawfully gained, compensation and premium pay for each meal or rest period

12   that was not provided, failure to provide accurate, itemized wage statements, and waiting time

13   penalties.

14          16.     Although Cherne denies all liability, based on Plaintiff’s claims for compensatory

15   damages alone, it is more likely than not that the amount in controversy exceeds $75,000, exclusive

16   of interests and costs, as required for diversity jurisdiction pursuant to 28 U.S.C. § 1332.

17          17.     Plaintiff states that she worked for Cherne for approximately 20 months, from June

18   30, 2015 to February 20, 2017, at the company's Tesoro site. (FAC ¶4.) During this time, Plaintiff

19   was paid an average of approximately $30.83 per hour as base pay. (Declaration of Nikole Mandy

20   ("Mandy Decl.") ¶2.) Presuming her alleged unpaid wages would count as overtime, and that

21   Plaintiff worked one hour of unpaid overtime per day during her employment, the unpaid amount

22   owed on her overtime claim would be approximately $19,192 ($30.83 per hour x 1 hour x 1.5 x 250

23   days per year x 1.66 years). This amount does not include interest, statutory costs, penalties, or

24   attorneys' fees, which Plaintiff additionaly seeks in connection with these claims.

25          18.     Plaintiff also alleges that she did not receive meal periods in compliance with the

26   California Labor Code because she was required to work through her first meal period and was not

27   permitted to take a second meal period. (FAC ¶70.) Pursuant to Labor Code § 226.7(c), Plaintiff

28   seeks one hour of pay for work each day she was not afforded a compliant meal period. (FAC ¶¶70-
                                                       3
                                                                                          Case No._______________
                                                                NOTICE OF REMOVAL OF ACTION FROM STATE COURT
 1   71.) If Plaintiff missed eight meal periods per month, she would be entitled to $4,933 ($30.83 per

 2   hour x 8 missed meal periods per month x 20 months).

 3          19.     Next, Plaintiff asserts that she did not receive daily rest breaks because Cherne

 4   allegedly required her to work through her daily rest period and/or did not authorize her to take her

 5   rest period. (FAC ¶83.) Pursuant to Labor Code § 226.7(c), Plaintiff seeks one hour of pay for each

 6   work day that she was not afforded a rest period. (FAC ¶¶83-84.) If Plaintiff missed eight rest

 7   periods per month, she would be entitled to $4,933 ($30.83 per hour x 8 missed meal periods per

 8   month x 20 months).

 9          20.     Under her failure to provide accurate itemized statements claim, Plaintiff seeks

10   damages of up to $4,000. (FAC ¶95.)

11          21.     Plaintiff also seeks penalties for Cherne's alleged failure to pay Plaintiff her earned

12   and unpaid wages at the time of her discharge or within 72 hours of her resignation, as applicable, in

13   violation of Labor Code §§ 201-203. (FAC ¶114.) Under this claim, Plaintiff seeks up to 30 days of

14   pay as a penalty, or approximately $7,399 ($30.83 per hour x 8 hours per day x 30 days).

15          22.     Plaintiff also asserts a potential claim to recover civil penalties on behalf of the State

16   of California as an "aggrieved employee" for Cherne's alleged numerous Labor Code and IWC Wage

17   Order violations. (FAC ¶¶31-42, 58-63, 73-79, 86-92, 97-103, 110-116, 124-130, Prayer for Relief

18   ¶¶v, vii, x, xii, xiii, xiv.) Taking into account the PAGA penalties contemplated under Labor Code §

19   2699(f) and Labor Code sections incorporated by reference, Plaintiff's potential damages far exceed

20   $75,000.

21          23.     Moreover, in determining the amount in controversy, the Court must consider the

22   aggregate of general damages, special damages, punitive damages, and attorneys’ fees. See Galt G/S

23   v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (holding that claims for statutory attorneys’

24   fees to be included in amount in controversy, regardless of whether such an award is discretionary or

25   mandatory); Davenport v. Mut. Benefit Health & Accident Ass’n, 325 F.2d 785, 787 (holding that

26   punitive damages must be taken into account where recoverable under state law); Conrad Assocs. v.

27   Hartford Accident & Indem. Co., 994 F. Supp. 1196, 1198 (N.D. Cal. 1998) (holding that the

28   "amount in controversy" includes claims for general and special damages); Brady v. Mercedes-Benz
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 1   USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D. Cal, 2002) ("Where the law entitles the prevailing

 2   plaintiff to recover reasonable attorney fees, a reasonable estimate of fees likely to be incurred to

 3   resolution is part of the benefit permissibly sought by the plaintiff and thus contributes to the amount

 4   in controversy."). Here, Plaintiff seeks attorneys’ fees and costs. (FAC ¶¶57, 63, 72, 79, 92, 96, 103,

 5   123, 130; Prayer for Relief ¶xv) Should Plaintiff prevail on her wage and hour claims, she may be

 6   entitled to recover attorneys’ fees by statute. See Cal. Labor Code § 2699(g)(1). When attorneys’

 7   fees are recoverable by statute, they are also factored in to the determination of the amount in

 8   controversy. See Richmond, 897 F. Supp. at 450 (noting that attorneys’ fees are included in the

 9   amount in controversy "if recoverable by statute or contract"). When attorneys' fees are considered,

10   the amount in controversy far exceeds the $75,000 threshold.

11          24.     Accordingly, since diversity of citizenship exists between Plaintiff and Defendant,

12   and the amount in controversy between them exceeds $75,000, this Court has original jurisdiction of

13   the action pursuant to 28 U.S.C. § 1332(a)(1), and Plaintiff’s action is removable under 28 U.S.C. §

14   1441(b).

15                                IV.     CLASS ACTION FAIRNESS ACT

16          25.     As set forth below, this is a civil action of which the Court has original jurisdiction

17   pursuant to 28 U.S.C. § 1332(d) because this matter was brought as a class action on behalf of more

18   than 100 individuals, the amount in controversy exceeds five million dollars, exclusive of interest

19   and costs, and is a class action in which at least one class member is a citizen of a State different

20   from that of Defendant.

21                         The Proposed Class Includes More Than 100 Members

22          26.     The FAC alleges that the putative class consists of "all hourly non-exempt on-site

23   employees who performed work for CHERNE at job sites located within the State of California at

24   any time during the four-year period preceding the filing of this Complaint and up to the present and

25   until compliance with the law." (FAC ¶18.)

26          27.     Cherne estimates that it has employed approximately 2,365 nonexempt employees in

27   California during Plaintiff's proposed class period. (Mandy Decl. ¶3.)

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 1                         Plaintiff and Defendant Are Citizens of Different States

 2          28.     As discussed in Paragraph 7, Plaintiff is a citizen of California.

 3          29.     As discussed in Paragraphs 10-11, Cherne is a citizen of Delaware and Minnesota.

 4                                         Amount in Controversy

 5          30.      Where a complaint "fails to allege a sufficiently specific total amount in

 6   controversy . . . [courts] apply the preponderance of the evidence burden of proof to the removing

 7   defendant." Guglielmino v. McKee Foods Corp., 506 F.3d 696, 701 (9th Cir. 2007). Here, Plaintiff

 8   has not alleged a specific amount in controversy. In such case, "the court must assess jurisdiction

 9   under CAFA to determine whether the amount in controversy requirement of § 1332(d) has been

10   met." Yeroushalmi v. Blockbuster Inc., 2005 U.S. Dist. LEXIS 39331, at *7 (C.D. Cal. July 11,

11   2005). As such, the preponderance of the evidence standard applies in determining whether the five

12   million threshold is likely to be met. See, e.g., Guglielmino, 506 F.3d at 700 (applying the

13   preponderance of the evidence standard where plaintiff’s complaint alleged that "damages to each

14   Plaintiff are less than $75,000").

15          31.     The alleged amount in controversy in this putative class action exceeds, in the

16   aggregate, five million dollars.

17          32.     The FAC alleges that Cherne denied class members overtime pay. (FAC ¶56.)

18   Plaintiff seeks recovery for a period extending four years before the filing of the FAC. During this

19   period, Cherne employed 2,365 non-exempt employees who meet the proposed class definition.

20   (Mandy Decl. ¶3.) These employees had an average hourly rate of $45.86. (Id.) If 2,365 employees,

21   earning an average of $45.86 per hour, worked one hour of overtime per day over four years, the

22   unpaid overtime owed on the overtime claim alone would exceed $5 million. ($45.86 per hour x 1

23   hour x 1.5 x 250 days x 4 years x 2,365 employees).

24          33.     The FAC alleges willful failure to timely pay termination wages, for which the

25   penalty is 30 days of wages under California Labor Code § 203. (FAC ¶109.) Cherne estimates that

26   there were more than 1,000 non-exempt employees in California who resigned or were terminated

27   during the proposed class period. Accordingly, the potential liability for waiting-time penalties under

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                                                                                         Case No._______________
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 1   Plaintiff's theory would also itself exceed $5 million ($45.86 per hour x 1 hour x 1.5 x 30 days x 100

 2   separated employees during the last 3 years).

 3          34.      Under Plaintiff's failure to provide accurate itemized statements claim, Plaintiff seeks

 4   liquidated damages of up to $4,000 per class member. (FAC ¶95.) Cherne estimates that there are

 5   approximately 2,365 potential class members. (Mandy Decl. ¶3.) If these potential class members

 6   are entitled to the maximum penalty, the potential damages under this claim would also itself exceed

 7   $5 million ($4,000 x 2,365 potential class members).

 8          35.     Plaintiff also seeks on behalf of herself and the class one hour of pay for each

 9   workday in which an off-duty meal period was not provided and one hour of pay for each workday

10   in which a rest period was not provided. (FAC ¶¶70-71.) If the class members missed four meal

11   periods and four rest periods per month, the potential damages would exceed $5 million ($45.85 per

12   hour x 8 missed meal/rest breaks x 3 years x 2,365 employees).

13          36.     The FAC alleges that class members are entitled to recover attorneys' fees. Attorneys’

14   fees requests must be taken into account in ascertaining the amount in controversy. See Lowdermilk

15   v. United States Bank Nat’l Ass’n, 479 F.3d 994, 1000 (9th Cir. 2007). "[T]he Ninth Circuit has

16   established 25% of the common fund as a benchmark award for attorney fees." Jasso v. Money Mart

17   Express, Inc., 2012 U.S. Dist. LEXIS 27215, at *20-21 (N.D. Cal. March 1, 2012) (quotations

18   omitted). Therefore, if Plaintiff’s demand of attorneys’ fees is included, the calculations noted above

19   would increase by another 25%.

20          37.     In sum, although Cherne denies Plaintiff's factual allegations and that Plaintiff or the

21   class that she purports to represent are entitled to relief for which she had prayed, the jurisdictional

22   amount in controversy requirement is met and removal to this Court is proper under CAFA.

23                                               V.        VENUE

24          38.     Pursuant to 28 U.S.C. § 1441(a), "any civil action brought in a State court of which

25   the district courts of the United States have original jurisdiction, may be removed by the defendant

26   or the defendants, to the district court of the United States for the district and division embracing the

27   place where such action is pending." Under 28 U.S.C. § 84, this Court embraces the Superior Court

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 1   of the State of California for the County of Alameda. Accordingly, this Court is the appropriate

 2   Court under this statute for removal of this action.

 3                                     VI.     NOTICE OF REMOVAL

 4          39.     Cherne will give notice of the filing of this Notice of Removal to Plaintiff and to the

 5   Clerk of the Superior Court for the State of California, County of Alameda, Case No. RG18892816.

 6   This Notice of Removal is concurrently being served on Plaintiff and Cherne shall file with this

 7   Court a certificate of service of such notice.

 8          40.     In compliance with 28 U.S.C. § 1446(a), true and correct copies of all process,

 9   pleadings, and orders served in this action are attached hereto. See Summons and Complaint

10   (Exhibit A).

11                                    VII.    PRAYER FOR REMOVAL
12          41.     WHEREFORE, Defendant, Cherne Contracting Corporation, respectfully prays that

13   this matter, now pending in the Superior Court of California, County of Alameda, Case No.

14   RG18892816, be removed to the United States District Court for the Northern District of California.

15

16   Dated: March 28, 2018                                 BAKER & McKENZIE LLP
17

18                                                         By: /s/ Benjamin R. Buchwalter
                                                                   Benjamin R. Buchwalter
19                                                            Attorneys for Defendant
                                                              CHERNE CONTRACTING
20                                                            CORPORATION
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